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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,            )
          Plaintiff,                 )
                                     )                Case No. 4:20-cv-00514
v.                                   )
                                     )
PAULINE KAUFMAN and                  )
PAULINE KAUFMAN, as Executrix of the )
ESTATE OF AVIK KAUFMAN,              )
           Defendant.                )

                     UNITED STATES OF AMERICA’S COMPLAINT

       The United States of America, pursuant to 31 U.S.C. § 3711(g)(4)(C), at the direction of

the Attorney General of the United States, or his delegate, and at the request of the Secretary of

the Treasury, or his delegate, files this Complaint against Pauline Kaufman to reduce to

judgment and collect outstanding civil penalties assessed against Pauline Kaufman for her non-

willful failure to timely report his financial interest in numerous foreign bank accounts as

required by 31 U.S.C. § 5314 and its implementing regulations, plus accrued interest on the

assessed penalties, late payment penalties and associated fees. Additionally, the United States

has filed this Complaint against Pauline Kaufman as Executrix of the Estate of Avik Kaufman to

reduce to judgment and collect outstanding civil penalties assessed against Avik Kaufman for his

willful failure to timely report his financial interest in numerous foreign bank accounts as

required by 31 U.S.C. § 5314 and its implementing regulations, plus accrued interest on the

assessed penalties, late payment penalties and associated fees. Further, the United States intends

to proceed under the Federal Debt Collection Practices Act (28 U.S.C. § 3001 et seq.) to collect

any judgment it obtains in this case, including, the use of all appropriate pre-judgment remedies,




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post-judgment remedies and the additional surcharge as authorized by 28 U.S.C. § 3011. In

support hereof, the United States alleges as follows:

                                 JURISDICTION AND VENUE

       1.      The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1345 and

1355 because this action arises under a federal statute for the recovery of a penalty and the

United States is the Plaintiff. Further, upon completion of service of process, this Court will

have personal jurisdiction over Pauline Kaufman pursuant to Fed. R. Civ. P. 4(k).

       2.      Venue is proper in this district under 28 U.S.C. § 1391(b) because Pauline

Kaufman is a United States citizen whose last known address was in Houston, Texas.

       3.      Venue is proper in this district under 28 U.S.C. § 1391(b) because Avik Kaufman

was a United States citizen whose last known address was in Houston, Texas. Avik Kaufman

passed away in 2012 and his Estate was probated in Harris County, Texas. Avik Kaufman’s wife

Pauline Kaufman was appointed the Independent Executrix of Avik Kaufman’ Estate. Upon

information and belief, Executrix, Pauline Kaufman resides in Houston, Texas. Alternatively,

venue may be proper under 28 U.S.C. §§ 1391(c) and 1395.

         THE KAUFMANS FAILED TO TIMELY REPORT THEIR FINANCIAL
               INTERESTS IN THEIR FOREIGN BANK ACCOUNTS

       4.      31 U.S.C. § 5314 authorizes the Secretary of the Treasury to require United States

persons to report certain transactions with foreign financial agencies. Under the statute’s

implementing regulations, “[e]ach United States person having a financial interest in, or

signature authority over, a bank, securities, or other financial account in a foreign country shall

report such relationship” to the IRS for each year in which such relationship exists. 31 C.F.R. §

1010.350(a).




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       5.      To fulfill this requirement, a United States person must file a Form TD F 90-22.1,

“Report of Foreign Bank and Financial Accounts,” commonly known as an “FBAR.” See id.

For the 2007 through 2010 years at issue, an accurate FBAR was due by June 30 “of each

calendar year with respect to foreign financial accounts exceeding $10,000 maintained during the

previous calendar year.” 31 C.F.R. § 1010.306(c).1

       Kaufmans’ financial interests and signature authority in foreign bank accounts

       6.      In approximately 1978, Avik Kaufman became a United States’ citizen. Avik

Kaufman was a United States’ citizen during 2007-2010.

       7.      In approximately 1978, Pauline Kaufman became a United States’ citizen.

Pauline Kaufman was a United States’ citizen during 2007-2010.

       8.      During 2007 through 2010, Avik Kaufman, a United States’ citizen, had a

financial interest in, beneficial interest, control and signatory authority over some twelve foreign

bank accounts, including (1) Julius Baer in the Switzerland, six separate accounts ending 0201,

534.01, 814.01, 333.01, 402.01 and 001.01; and (2) Bank Leumi in Israel, six separate accounts

ending 82/29, 59/15, 01/40, 01/20, 91/17 and 01/30.

       9.      During 2007 through 2010, Pauline Kaufman, a United States’ citizen, had a

financial interest in, beneficial interest, control and signatory authority over some twelve foreign

bank accounts, including (1) Julius Baer in the Switzerland, six separate accounts ending 0201,

534.01, 814.01, 333.01, 402.01 and 001.01; and (2) Bank Leumi in Israel, six separate accounts

ending 82/29, 59/15, 01/40, 01/20, 91/17 and 01/30.

       10.     Avik and Pauline Kaufman were married during the 2007-2010 years.


1
 Beginning with the 2016 tax year, the due date of the FBAR form is April 15. Pub. L. No.
114-41, § 2006(b)(11).


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       11.    In 1996, the Kaufmans opened a bank account at UBS in Switzerland.

       12.    Sometime in 2003, the Kaufmans closed the UBS account and transferred the

funds to Julies Baer bank in Switzerland.

       13.    Sometime in 2009, the Kaufmans closed the Julius Baer accounts and transferred

the funds to Bank Leumi in Israel.

       14.    The Kaufmans’ UBS, Julius Baer and Bank Leumi accounts were numbered

accounts. Numbered accounts do not disclose the Kaufmans’ name even though they were the

owners of the accounts.

       15.    Avik Kaufman oversaw the Julius Baer and Bank Leumi accounts during the

2007-2010 years.

       16.    Avik Kaufman dictated the transfer of funds held in the Julius Baer and Bank

Leumi accounts during 2007-2010.

       17.    Avik Kaufman admitted that had signature authority, control or an interest in

some 2-7 foreign bank accounts during 2007-2010.

       18.    The Kaufmans filed Form 1040 U.S. Individual income tax returns for the 2007-

2010 tax years.

       19.    The Kaufmans failed to report all of their foreign income on their originally filed

United States income tax returns for 2007-2010.

       20.    Prior to the years at issue, Avik Kaufman filed FBARs for 2000 and 2001

reporting his and Pauline Kaufman’s interest in a Bank Leumi account in Israel. Thus, Avik

Kaufman was aware of his FBAR filing requirements.

       21.    However, the Kaufmans failed to report their interest in the UBS accounts on the

2000 and 2001 FBARs.


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       22.     The Kaufmans failed to file FBARs reporting their interest in foreign accounts for

the 2002-2007 years.

       Foreign account balances exceeded $10,000 in 2007 – 2010.

       23.     In 2007, Pauline Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account           Maximum        Non-willful           Bank Location
               Number            Balance        Penalty assessed
Julius Baer    XXXX 0201         $1,954,257     $10,000               Switzerland
Julius Baer    XXXX 534.01       $ 30,487       $10,000               Switzerland
Bank Leumi     XXXX 82/29        $ 148,451      $10,000               Israel
Bank Leumi     XXXX 59/15        $ 35,007       $10,000               Israel
TOTALS                           $2,168,202     $40,000
FOR YEAR

       24.     In 2008, Pauline Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account           Maximum        Non-willful         Bank Location
               Number            Balance        Penalty assessed
Julius Baer    XXXX 0201         $1,954,257     $10,000             Switzerland
Bank Leumi     XXXX 82/29        $ 110,590      $10,000             Israel
Bank Leumi     XXXX 59/15        $ 28,004       $10,000             Israel
TOTALS                           $2,092,851     $30,000
FOR YEAR

       25.     In 2009, Pauline Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account           Maximum        Non-willful          Bank
               Number            Balance        Penalty assessed     Location
Julius Baer    XXXX 0201         $1,500,360     $10,000              Switzerland
Julius Baer    XXXX 814.01       $ 29,457       $10,000              Switzerland
Bank Leumi     XXXX 82/29        $ 140,007      $10,000              Israel
Bank Leumi     XXXX 59/15        $ 27,641       $10,000              Israel
Bank Leumi     XXXX 01/40        $ 110,032      $10,000              Israel
Bank Leumi     XXXX 01/20        $1,530,287     $10,000              Israel
Bank Leumi     XXXX 91/17        $ 20,618       $10,000              Israel
TOTALS                           $3,358,402     $70,000
FOR YEAR

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       26.     In 2010, Pauline Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account        Maximum           Non willful penalty   Bank
               Number         Balance           assessed              Location
Bank Leumi     XXX 01/40      $ 89,761          $10,000               Israel
Bank Leumi     XXX 01/20      $1,767,701        $10,000               Israel
TOTALS                        $1,857,46         $20,000
FOR YEAR


       27.     In 2007, Avik Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account         Maximum          Balance as of    Potential Max      Bank
               Number          Balance          6/30/2008        Willful penalty    Location
Julius Baer    XX 0201         $1,954,257       $1,882,660       $ 941,330          Switzerland
Julius Baer    XX 534.01       $ 30,487         unknown          $ 100,000          Switzerland
Bank Leumi     XX 82/29        $ 148,451        $110,552         $ 100,000          Israel
Bank Leumi     XX 59/15        $ 35,007         $ 2,903          $ 100,000          Israel
TOTALS for                     $2,168,202                        $1,241,330
YEAR

       28.     However, the IRS only assessed a willful FBAR penalty against Avik Kaufman in

the amount of $176,820 for 2007.

       29.     In 2008, Avik Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account         Maximum          Balance as of    Potential Max      Bank
               Number          Balance          6/30/2009        Willful penalty    Location
Julius Baer    XX 0201         $1,954,257       $ 0.00           $100,000           Switzerland
Bank Leumi     XX 82/29        $ 110,590        $110,590         $100,000           Israel
Bank Leumi     XX 59/15        $ 28,004         unknown          $100,000           Israel
TOTALS                         $2,092,851                        $300,000
FOR YEAR


       30.     However, the IRS only assessed a willful FBAR penalty against Avik Kaufman in

the amount of $176,820 for 2008.


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       31.     In 2009, Avik Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account         Maximum          Balance as of   Potential Max      Bank
               Number          Balance          6/30/2010       Willful penalty    Location
Julius Baer    XXXX 0201       $1,500,360       0.00            $ 100,000          Switzerland
Julius Baer    XXX 814.01      $ 29,457         $29,457         $ 100,000          Switzerland
Bank Leumi     XXX 82/29       $ 140,007        unknown         $ 100,000          Israel
Bank Leumi     XXX 59/15       $ 27,641         unknown         $ 100,000          Israel
Bank Leumi     XXX 01/40       $ 110,032        $103,056        $ 100,000          Israel
Bank Leumi     XXX 01/20       $1,530,287       unknown         $ 100,000          Israel
Bank Leumi     XXX 91/17       $ 20,618         unknown         $ 100,000          Israel
TOTALS                         $3,358,72                        $ 700,000
FOR YEAR

       32.     However, the IRS only assessed a willful FBAR penalty against Avik Kaufman in

the amount of $176,820 for 2009.

       33.     In 2010, Avik Kaufman had signature authority, control or authority over, or an

interest in foreign bank accounts as follows:

Bank Name      Account        Maximum       Balance as of       Potential Max      Bank
               Number         Balance       6/30/2011           Willful penalty    Location
Bank Leumi     XXX 01/40      $ 89,761      $75,716             $100,000           Israel
Bank Leumi     XXX 01/20      $1,767,701    $1,767,701          $883,850.50        Israel
TOTALS                        $1,857,462                        $20,000
FOR YEAR

       34.     However, the IRS only assessed a willful FBAR penalty against Avik Kaufman in

the amount of $176,820 for 2010.

       35.     During 2007 the highest aggregate balance of Avik Kaufman and Pauline

Kaufman’s foreign bank accounts was $2,168,202.

       36.     During 2008 the highest aggregate balance of Avik Kaufman and Pauline

Kaufman’s foreign bank accounts was $2,092,851.

       37.     During 2009 the highest aggregate balance of Avik Kaufman and Pauline

Kaufman’s foreign bank accounts was $3,358,402

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       38.     During 2010 the highest aggregate balance of Avik Kaufman and Pauline

Kaufman’s foreign bank accounts was $1,857,462.

       39.     Clearly, during 2007 - 2010, the balances in Avik Kaufman and Pauline

Kaufman’s foreign bank accounts exceeded $10,000.

       Pauline Kaufman’ failure to disclose the foreign accounts was non-willful.

       40.     During 2007-2010, Pauline Kaufman was a United States person as defined in 31

C.F.R. § 1010.350.

       41.     In 2007 - 2010, Pauline Kaufman had a financial interest in, and signatory

authority over, all the accounts listed in ¶ ¶ 23, 24, 25, and 26 above. Most of these accounts had

account balances exceeding $10,000. The aggregate balance in all of the Kaufmans’ foreign

accounts exceeded $10,000 in each year from 2007-2010. Thus, on or before June 30, 2008 –

June 30, 2011, Pauline Kaufman was required to file an FBAR reporting her interest in these

foreign bank accounts for 2007 - 2010, respectively.

       42.     Pauline Kaufman failed to timely file FBARs for 2007.

       43.     Upon information and belief Pauline Kaufman failed to timely file her own

FBARs for the 2008-2010 years regarding all the foreign bank accounts.

       44.     The FBARs filed for the 2008-2010 years by Avik Kaufman failed to list all the

Kaufmans’ foreign accounts and provide correct balances. These FBARs filed for 2008-2010

were inaccurate.

       45.     Pauline Kaufman’s failure to timely report her financial interest in the foreign

bank accounts was non-willful.

       Avik Kaufman’ failure to disclose the foreign accounts was willful.

       46.     During 2007-2010, Avik Kaufman was a United States person as defined in 31


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C.F.R. § 1010.350.

       47.      In 2007 - 2010, Avik Kaufman had a financial interest in, and signatory authority

over, all the accounts listed in ¶ ¶ 27, 29 31, and 33 above. Most of these accounts had account

balances exceeding $10,000. The aggregate balance in all of the Kaufmans’ foreign accounts

exceeded $10,000. Thus, on or before June 30, 2008 – June 30, 2011, Avik Kaufman was

required to file an FBAR reporting his interest in these foreign bank accounts for 2007 - 2010,

respectively.

       48.      Avik Kaufman had filed FBARs prior to 2007-2010. Avik Kaufman knew he had

an obligation to file FBARs.

       49.      Avik Kaufman failed to timely file a FBAR for 2007 regarding his foreign bank

accounts despite knowing he had an interest in foreign bank accounts.

       50.      Avik Kaufman filed timely FBARs for 2008 and 2009. However, the 2008 and

2009 FBARs were inaccurate and misleading.

       51.      Avik Kaufman failed to list all the Kaufmans’ foreign accounts on his 2008-2010

FBARs.

       52.      Avik Kaufman failed to list his foreign bank accounts at Julius Baer in

Switzerland on the 2008 and 2009 FBARs. The Julius Baer accounts were numbered accounts

which did not disclose Avik Kaufman’s name.

       53.      In 2008 and 2009, the highest aggregate account balances in the Julius Baer

numbered accounts exceeded $1,500,000.

       54.      Avik Kaufman failed to list all of his accounts held at Bank Leumi on the 2008-

2010 FBARs.




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       55.     Avik Kaufman failed to list the correct highest balances for the Bank Leumi

accounts on the 2008-2010 FBARs.

       56.     Avik Kaufman fail to list the Bank Leumi account numbers and account balances

on the 2008 FBAR.

       57.     The FBARs filed for 2008-2010 were inaccurate.

       58.     Avik Kaufman owned and operated a successful businesses.

       59.     Avik Kaufman was a sophisticated businessman.

       60.     The Kaufmans failed to report all their interest income earned from their foreign

bank accounts on their 2007-2010 federal income tax returns.

       61.     Kaufmans’ foreign bank accounts generated income taxable in the United States

that was not reported on their federal income tax returns for 2007 through 2010.

       62.     The Kaufmans failed to report any income generated from their Julius Baer

accounts in Switzerland on their 2007-2009 tax returns.

       63.     Kaufmans’ unreported income from their foreign bank accounts created

deficiencies in their income taxes for each year from 2007 through 2010.

       64.     The Kaufmans failed to disclose any foreign accounts on Schedule B of their

2007, 2009 and 2010 federal income tax returns.

       65.     Upon information and belief, Avik Kaufman failed to inform his tax return

preparer that he had foreign bank accounts at Julius Baer during the 2007-2009 tax years.

       66.     Upon information and belief, Avik Kaufman failed to inform his tax return

preparer that the Bank Leumi was a foreign account.

       67.     Avik Kaufman handled all of the Kaufmans’ finances.




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       68.     Avik Kaufman’s failure to timely report his financial interest in the foreign bank

accounts was willful.

       2007 through 2010 FBAR Penalty assessments

       69.     31 U.S.C. § 5321(a)(5) provides for the imposition of civil penalties for a failure

to comply with the reporting requirements of Section 5314 – i.e., when the person maintaining a

foreign account fails to timely file an FBAR reporting that account despite having an obligation

to do so. For violations involving the non-willful failure to report the existence of an account,

the maximum amount of the penalty that may be assessed is $10,000. 31 U.S.C. §

5321(a)(5)(B)(i).

       70.     Due to Pauline Kaufman’s non-willful failure to timely file FBARs reporting her

financial interest in the foreign bank accounts for 2007 through 2010, a delegate of the Treasury

Secretary assessed FBAR penalties against her pursuant to 31 U.S.C. § 5321(a)(5) on February

14, 2018, as follows:

       Tax Year 2007          $ 40,000
       Tax Year 2008          $ 30,000
       Tax Year 2009          $ 70,000
       Tax Year 2010          $ 20,000
       Total                  $160,000

       71.     Due to Avik Kaufman’s willful failure to timely file FBARs reporting his

financial interest in the foreign bank accounts for 2007 through 2010, a delegate of the Treasury

Secretary assessed FBAR penalties against him pursuant to 31 U.S.C. § 5321(a)(5) on February

14, 2018, as follows:

       Tax Year 2007          $ 176,820
       Tax Year 2008          $ 176,820
       Tax Year 2009          $ 176,820
       Tax Year 2010          $ 176,820
       Total                  $707,820


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       72.     The IRS assessments of the 2007 through 2010 FBAR penalties against Avik

Kaufman and Pauline Kaufmen were both timely. Pursuant to 31 U.S.C. § 5321(b)(1), the

statute of limitations on the assessment of an FBAR penalty is six years from the date of the

violation. The Forms TD F 90-22.1 or FBAR for the 2007 through 2010 tax years were due on

June 30, 2008 through June 30, 2011, respectively. Thus, the last day for the assessment of the

FBAR penalties for the 2007 through 2010 tax years was June 30, 2014 through June 30, 2017.

       73.     However, Pauline Kaufman and her representative signed several consents to

extend the time to assess Civil Penalties provided by 31 U.S.C. § 5321 for FBAR violations

(FBAR penalties) for the 2007 -2010 years. Pauline Kaufman extended the statute of limitation

for assessment for the 2007-2010 FBAR penalties to December 31, 2018. Accordingly, the IRS

could assess the FBAR penalties for the 2007-2010 year before December 31, 2018. The FBAR

penalties for 2007-2010 were timely assessed on February 14, 2018.

       74.     Also, Pauline Kaufman as surviving spouse and as executrix and her

representative signed several consents to extend the time to assess Civil Penalties provided by 31

U.S.C. § 5321 for FBAR violations (FBAR penalties) for the 2007 -2010 years. Thus, the

consents extended the statute of limitation for assessment of Avik Kaufmans’s 2007-2010 FBAR

penalties to December 31, 2018. Accordingly, the IRS could assess the FBAR penalties against

Avik Kaufman for the 2007-2010 years before December 31, 2018. The FBAR penalties against

Avik Kaufman for 2007-2010 were timely assessed on February 14, 2018.

       75.     On February 20, 2018, a delegate of the Treasury Secretary also gave Pauline

Kaufman notice and demand of the penalty assessments for 2007 through 2010.

       76.     On February 20, 2018, a delegate of the Treasury Secretary also gave Avik

Kaufman notice and demand of the penalty assessments for 2007 through 2010.

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       77.     Despite the notice and demand for payment, Pauline Kaufman has failed to pay

the 2007 through 2010 FBAR penalties assessed against her. Therefore, interest and other

statutory additions continue to accrue on the unpaid assessments.

       78.     As of September 1, 2017, Pauline Kaufman owed the United States $170,175.18

in penalties assessed under 31 U.S.C. § 5321, including, interest and other statutory additions

which have accrued and will continue to accrue as provided by law.

       79.     Despite the notice and demand for payment, Avik Kaufman, or his Estate, has

failed to pay the 2007 through 2010 FBAR penalties assessed against him. Therefore, interest

and other statutory additions continue to accrue on the unpaid assessments.

       80.     As of February 1, 2019, Avik Kaufman owed the United States $754,793.72 in

penalties assessed under 31 U.S.C. § 5321, including interest and other statutory additions which

have accrued and will continue to accrue as provided by law.

       81.     Likewise, this suit is timely because it was commenced within two years of the

assessment dates. Pursuant to 31 U.S.C. § 5321(b)(2), a suit to reduce to judgment an FBAR

assessment must be commenced within two years from the date of assessment. Thus, the United

States has until February 14, 2020, to timely file this suit.

       WHEREFORE, the United States of America requests as follows:

       1.      That the Court enter judgment in favor of the United States against Pauline

Kaufman for Pauline Kaufman’s 2007 - 2010 FBAR penalty assessments in the aggregate

amount of $170,175.18 as of February 1, 2019, plus accruals and such other and further relief as

the Court deems just and proper; and

       2.      That the Court enter judgment in favor of the United States against Pauline

Kaufman, as Executrix or Representative of the Estate of Avik Kaufman for Avik Kaufman’s


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2007 - 2010 FBAR penalty assessments in the aggregate amount of $754,793.72 as of February

1, 2019, plus accruals and such other and further relief as the Court deems just and proper;

       3.      That the United States shall recover a surcharge of 10% of the amount of the debt

as authorized under 28 U.S.C. § 3011 for using pre-judgment and/or post judgment debt

collection remedies under 28 U.S.C. § 3101 et seq., and 28 U.S.C. § 3201 et seq., respectively.

                                             RICHARD E. ZUCKERMAN
                                             Principal Deputy Assistant Attorney General

                                             /s/ Herbert W. Linder
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                                             ATTORNEYS FOR UNITED STATES




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JS 44-TXND (Rev. 12/12)                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
United States of America                                                                                     Pauline Kaufman and Pauline Kaufman as Executrix of
                                                                                                             the Estate of Avik Kaufman
    (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant Harris
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
Herbert W. Linder, Department of Justice, Tax Division
717 North Harwood, Suite 400, Dallas, Texas 75201 (214) 880-9754


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                             of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881           ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                                  28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                      ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                              ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                              ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                          Injury Product                                                                                    ’   480 Consumer Credit
        (Excludes Veterans)          ’   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’   710 Fair Labor Standards           ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                      Act                           ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’   720 Labor/Management               ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability         ’ 380 Other Personal                   Relations                     ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’   740 Railway Labor Act              ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’   751 Family and Medical                                                ’   895 Freedom of Information
                                     ’   362 Personal Injury -               Product Liability                Leave Act                                                                Act
                                             Medical Malpractice                                     ’   790 Other Labor Litigation                                            ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’   791 Employee Retirement              FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                       Income Security Act            ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                               26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 530 General
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from               ’ 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          31 U.S.C. § 3711(g)(4)(C), 31 U.S.C. § 5314, 28 U.S.C. § 3001 et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                          Reduce to judgment and collect outstanding civil penalties for failure to report interest in foreign bank accounts
VII. REQUESTED IN   ’ CHECK IF THIS IS A CLASS ACTION                                                    DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                           924,968.90                                  JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED PENDING OR CLOSED CASE(S)
      IF ANY          (See instructions):
                                          JUDGE                                                                                                 DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
02/14/2020                                                              /s/ Herbert W. Linder
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE

                 Print                               Save As...                                                                                                                      Reset
                              Case 4:20-cv-00514 Document 1-1 Filed on 02/14/20 in TXSD Page 2 of 2
       JS 44-TXND Reverse (Rev. 12/12)


                           INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                      Authority For Civil Cover Sheet

       The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
       required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
       required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
       Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

       I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
               only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
               then the official, giving both name and title.
         (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
               time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
               condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
         (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
               in this section "(see attachment)".

       II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
               in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
               United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
               United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
               Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
               to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
               precedence, and box 1 or 2 should be marked.
               Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
               citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
               cases.)

       III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
               section for each principal party.

       IV.     Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
               sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
               one nature of suit, select the most definitive.

       V.      Origin. Place an "X" in one of the six boxes.
               Original Proceedings. (1) Cases which originate in the United States district courts.
               Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
               When the petition for removal is granted, check this box.
               Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
               date.
               Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
               Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
               multidistrict litigation transfers.
               Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
               When this box is checked, do not check (5) above.

       VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
               statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

       VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
               Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
               Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

       VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed, insert
             the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the same
             parties and is based on the same or a similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of law
             and fact; and/or 4) involves the same estate in a bankruptcy appeal.

d Attorney Signature. Date and sign the civil cover sheet.
